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                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF THE DISTRICT OF COLUMBIA

____________________________________
                                              )
UNITED STATES,                                )
                                              )
       v.                                     )       Crim. No. 1:21mj108
                                              )
MARK SAHADY,                  )
      Defendant.                    )
____________________________________)

                           NOTICE OF ATTORNEY APPEARANCE

       Please note the appearance of undersigned as counsel for Defendant Mark Sahady.

                                                      Respectfully Submitted,

                                                      MARK SAHADY
                                                      By Counsel

                                                      _____/s/____________
                                                      John C. Kiyonaga

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                                                      Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on February 4, 2021, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System, with consequent service on all parties.

                                                      ____/s/_____________
                                                      John C. Kiyonaga




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